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NAMED PLAINTIFFS
CHRISTINE J. KELLSTEN, ET AL v. JAYCO, INC., ET AL

No

Last Name

First Name

Representative Address of THU County | Contractor
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Biloxi, MS 39532
2. Bird Judy 15405 Drake Lane Harrison | Bechtel
Biloxi, MS 39532
3. | Chaffin Ernie 918 25" Street Harrison | Bechtel
Guifport, MS 39501
4, Conway Timothy 11085 Beverly Rd Harrison Bechtel
D'Iberville, MS 39540
De Lee Lionel 707 Boule Rd Pear] Bechtel
Picayune, MS 38466 River
6. Lee Robbie 707 Bouie Rd Pearl Bechtel
Picayune, MS 38466 River
a L K Bessie Pittman 3728 Dana Ct. Jackson Bechte
(Mother) Pascagoula, MS 39568 ,
8. Logan Kendric 3728 Dana Ct. Jackson Bechtel

Pascagoula, MS 39568

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